                    Case 1-24-45433-ess                   Doc 1-7         Filed 12/31/24            Entered 12/31/24 15:26:10


 Fill in this information to identify the case:

             1550 BEDFORD AVE LLC
 Debtor name __________________________________________________________________

                                         EASTERN
 United States Bankruptcy Court for the:_______________________             NEW YORK
                                                                District of ________
                                                                                (State)
 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

 2.1     YOEL GOLDMAN
         _____________________        141 SKILMAN STREET
                                      ________________________________________________________             DCP BEDFORD GRAHAM D                                   
                                                                                                           _____________________
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G
                                       BROOKLYN                NEW YORK        11211
                                      ________________________________________________________
                                      City                        State               ZIP Code

                                                                                                                                                                   
 2.2
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.3
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.4
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.5
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.6
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                         page 1 of ___
                   Case 1-24-45433-ess              Doc 1-7        Filed 12/31/24       Entered 12/31/24 15:26:10

Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Additional Page if Debtor Has More Codebtors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                  Mailing address                                            Name
                                                                                                                             that apply:
                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

                                                                                                                                                    
 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                     E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code




 Official Form 206H                                    Schedule H: Codebtors                                                     page ___ of ___
